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                       EXHIBIT 1
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Mark Walters
Syndicated Talk Radio personality-Armed American Radio – CEO CCW Broadcast Media LLC
Canton, Georgia, United States
435 followers · 427 connections

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     CCW Broadcast Media LLC

     Radford University - College of
     Business and Economics

     Websites




About
On-air national radio host-broadcaster, author, columnist and commentator. Founder, owner and
CEO of Armed American Radio and parent company, CCW Broadcast Media LLC. Nationally
Syndicated host of the Armed American Radio broadcasts. I bring hard-hitting conservative
discussion of current events with a focus on the right to keep and bear arms to hundreds of radio
stations and hundreds of cities across America every Sunday night from 8p-11p ET, 5p-8p PT and
            Case 1:23-cv-03122-MLB Document 35-2 Filed 10/13/23 Page 3 of 9
Armed American Radio's Daily Defense with Mark Walters weekdays 4-5p ET, 1-2p PT. AAR and
AAR Daily Defense are distributed by the Salem Radio Network. My other titles and positions
include being an active member of the Board of Directors of Citizens Committee for the Right to
Keep and Bear Arms (CCRKBA) and 2015 National Gun Rights Defender of the Year Award
recipient. I recently joined the Board of Directors of Jews for the Preservation of Firearms
Ownership (JPFO) Author, Lessons from Armed America, with Kathy Jackson and foreword by
Massad Ayoob, author, Lessons from Unarmed America with Rob Pincus and foreword by Ted
Nugent and my latest work, Grilling While Armed - How to get off the gas and become your
neighborhood BBQ pit boss in one day, with George "The Mad Ogre" Hill.




Experience
        Chief Executive Officer
        CCW Broadcast Media LLC
        Jul 2013 - Present · 10 years 4 months

        United States
        CCW Broadcast Media LLC is the parent company of talk radio shows Armed American
        Radio and Armed American Radio's Daily Defense.


        Syndicated Talk Radio Personality
        Armed American Radio
        Apr 2009 - Present · 14 years 7 months

        Atlanta, Georgia
        Syndicated Talk Radio Personality-Host, nationally syndicated Armed American Radio
        Network. The fastest growing pro-firearms national radio broadcast in America
        focused on conservative talk issues and our right to bear arms for self-defense, AAR is
        heard nationwide in hundreds of cities on over 200 radio stations and growing rapidly.
        AAR is nationally distributed by the Salem Radio Network.


        Syndicated Talk Radio Host
        Armed American Radio's Daily Defense
        Mar 2015 - Present · 8 years 8 months
        Greater Atlanta Area
        Syndicated Talk Radio Personality-Host, nationally syndicated Armed American Radio
        Network Daily Defense program. The fastest growing pro-firearms national radio
   Case 1:23-cv-03122-MLB Document 35-2 Filed 10/13/23 Page 4 of 9
broadcast in America focused on conservative issues and our right to bear arms, AAR
Daily Defense is heard nationwide in dozens of cities on dozens of radio stations and
growing rapidly. AAR is nationally distributed by the Salem Radio Network.


Member Board Of Directors
Citizens Committee for the Right to Keep and Bear Arms
Jan 2015 - Present · 8 years 10 months
Bellevue, WA


Author
Lessons from Unarmed America
Jul 2013 - Present · 10 years 4 months
Greater Atlanta Area
Co-author of the book, Lessons from Unarmed America with Rob Pincus and foreword
by Ted Nugent. Stories of unarmed violent encounters and personal stories followed
up by analysis from one of the nations best self-defense experts, Rob Pincus.


Author
Lessons from Armed America
Oct 2009 - Present · 14 years 1 month

Atlanta, Georgia
Co-Author of the highly acclaimed book, Lessons from Armed America. Written with
Concealed Carry Magazine Editor, Kathy Jackson, "Lessons" is a compilation of stories
of people who found themselves the victims of senseless, violent crime and either
used or wished they had a firearm available to them at that moment for self-defense.
Each story is then followed up with expert analysis of the individual circumstances.
Forward written by famed author, instructor and expert witness, Massad Ayoob.


On-Air Contributor
American Trigger Sports Network Television
Dec 2010 - Jan 2012 · 1 year 2 months
Houston, Texas
Nationally televised on-air contributor, Mark discusses self-defense related issues with
host James B. Towle. ATSN can be seen on national television every week on the
Pursuit Channel 608 on Directv and 240 HUNT on DISH Network. Check your local
cable for subscriber and channel information.
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      Vice President-Brokerage Operations
      DTI Logistics, Inc
      Jul 2007 - Nov 2009 · 2 years 5 months
      Atlanta, Georgia
      Created and operated national brokerage division from 2007-2009


      CEO
      45 Caliber Transportation, Inc.
      Jan 2004 - Nov 2007 · 3 years 11 months
      Tampa, Florida-Atlanta, Georgia
      Founded and operated continuing operations of MCC Transportation, Inc from 2004-
      2007.


      President-CEO
      MCC Transportation, Inc.
      Jan 1994 - Jan 2004 · 10 years 1 month
      Tampa, Florida
      Freight Brokerage Agency. Founded and operated from 1994-2004.




Education
      Radford University - College of Business and Economics
      BS · Business Management
      1981 - 1984




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         Fort Worth, TX

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         Alan Gottlieb
         Owner and Principal at Write. Edit. Think. LLC
         Denver, CO

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         Alan Gottlieb
         Editor and Publisher at "Satellite Mobility World" Editor and Publisher
         Arlington, VA

               Connect


         Ronda Mary
         Billing Clerk at Logistics Executive Group
         Tomball, TX
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           Connect


      Kelly Wallach
      Litigation Paralegal at Rubin Lublin, LLC
      Atlanta, GA

           Connect


      Rhonda Mary
      Political Commentator, 2A Advocate
      Washington DC-Baltimore Area

           Connect


      Fred Riehl
      Chairman at GW Plastics
      Bethel, VT

           Connect


      Ross Nemeroff
      Detective Sergeant at Los Angeles Police Department
      United States

           Connect


      Oleg Volk
      Creative director, photographer, writer, and inventor. Over 25 years of experience.
      Lebanon, TN

           Connect


      Steve Castor
      Sales Manager at Barrett Supplies & Equipment
      Fortville, IN

           Connect


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        Mark Walters
        Global Procurement at Steelcase
        Grand Rapids Metropolitan Area

        Mark Walters
        Senior Operations leader with eleven years experience directly related to Supply Chain, Manufacuring and
        Business Operations
        Denver, CO

        Mark Walters
        Ho-Ho-Kus, NJ

        Mark Walters
        Global Account Director - Strategic Healthcare at Adobe
        Pittsburgh, PA

        Mark Walters
        Emeritus - Chief Human Resources Officer at University of Wisconsin-Madison
        Greater Madison Area

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          Chief Executive Officer at CCW Broadcast Media LLC


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